Entered: March 1st, 2019
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Signed: February 28th, 2019

SO ORDERED




                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF MARYLAND
                                              (Greenbelt Division)

         In RE:                                   )
                                                  )
         MICHELLE W. QUARLES,                     )                   Case No. 17-15211 (WIL)
                                                  )                   Chapter 13
               Debtor.                            )
         ________________________________________ )

                                                       ORDER

                   Upon consideration of the Objection to Claim (the “Objection”) filed by the Debtor

         herein, and the opposition filed by Wells Fargo, N.A., and the Court having heard argument

         concerning the Objection on February 27, 2019, and for the reasons stated by the Court on the

         record, IT IS by the United States Bankruptcy Court for the District of Maryland,

                   ORDERED that the Court shall exercise its power to abstain from hearing the Objection

         pursuant to its permissive abstention authority set forth in 28 U.S.C. §1334(c)(1).

         cc:       Debtor
                   Debtor’s Counsel – Augustus T. Curtis
                   Claimant
                   United States Trustee

                                                  END OF ORDER
